OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:92CR00284-002
                   TIMOTHY LEE FEW ELL
                                                                       )   USM No: 10133-058
Date of Previous Judgment: October 8, 1993                             )   Claire J. Rauscher
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 60            months is reduced to 49 months                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    31               Amended Offense Level:                                       29
Criminal History Category: II               Criminal History Category:                                   II
Previous Guideline Range: 121 to 151 months Amended Guideline Range:                                     97       to 121    months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   The noted sentence reduction is applicable to Counts One and Count Two, Count Two to be served concurrent
                        with Count One, since the Counts were grouped under USSG §3D1.1 and §3D1.4 for the sentencing
                        calculations. As well, the sentence in Count Two is reduced to 36 months concurrent imprisonment in order to
                        conform with the statutory maximum. These amended sentences for Counts One and Two do not affect the
                        sentences previously imposed in Counts 17 and 33 regarding violations of 18 U.S.C. § 924(c).


III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation


Except as provided above, all provisions of the judgment                       October 8, 1993 shall remain in effect.
IT IS SO ORDERED.

Order Date:        June 17, 2009


Effective Date:
                     (if different from order date)


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